Case 6:24-mj-04013-MWP Document 200 Filed 10/21/24 Page 1of1
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AO 442 (Rev. 01/09) Arrest Warrant

United States District Court

for the
Western District of New York
United States of America

Vv.

FELICIA COLLINS a/k/a “Keisha Brown” Case No. 24-MJ- 4013
a/k/a “Keisha”

Defendant

ARREST WARRANT

To: Any authorized law enforcement officer

YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without
unnecessary delay FELICIA COLLINS a/k/a “Keisha Brown” a/k/a “Keisha”, who is accused of
offenses or violations based on the following document filed with the Court:

O Indictment LC) Superseding Indictment O Information C1] Superseding Information & Complaint
O) Probation Violation Petition [1 Supervised Release Violation Petition 1 Violation Notice LJ Order of the Court
This offense is briefly described as follows:

In or about 2021 to January 17, 2024, in the County of Monroe, in the Western District of New York, the
defendant, FELICIA COLLINS a/k/a “Keisha Brown” a/k/a “Keisha’’, did knowingly and unlawfully
conspire to possess with intent to distribute and distribute 5 kilograms or more of cocaine and/or 400 grams or more
of fentanyl, in violation of Title 21, United States Code, Section 846 and knowingly and unlawfully possessed a
firearm in furtherance of drug trafficking crime, in violation of Title 18, United States Code, Section 924(c)(1)(A).

Date: _January 22, 2024 at 2:30 p.m. (Yar DY) WW “Pads WV)
Issuing officer’s signature
City and State: Rochester, New York HON. MARIAN W. PAYSON, U.S.M.J.

Printed name and Title

Return

This warrant was received on (date)_/=7.7-—7 ZL , and the person was arrested on (date) ate AY _,
at (city and state)

Date: xe ZZ. -

_, Arresting officer’s signature

ALLL fbb,

Printed name and title

